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  2   1825 Fourth Street
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  4
      Attorneys for Movants,
  5   Oomai Sunia, Edward Sunia, Alesana Sunia,
      Serentiy Sunia, Surrender Sunia, Edward A. Sunia,
  6   and Lynette Afitu
  7                        UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF CALIFORNIA
  8                             SAN FRANCISCO DIVISION
  9    In Re                                      Case No. 19-30088-DM
 10    PG&E CORPORATION,                          Chapter 11
 11       and                                     (Lead Case–Jointly Administered)
 12    PACIFIC GAS AND ELECTRIC                   NOTICE OF HEARING ON MOTION
 13    COMPANY                                    TO ALLOW/DEEM TIMELY
                                                  LATE FILING OF PROOF OF
 14         Debtors.                              CLAIM BY MOVANTS OOMAI
       _________________________________/         SUNIA, EDWARD SUNIA, ALESANA
 15                                               SUNIA, SERENITY SUNIA,
       Affects:                                   SURRENDER SUNIA, EDWARD A.
 16    9 PG&E Corporation                         SUNIA, AND LYNETTE AFITU
       9 Pacific Gas & Electric Company
 17    : Both Debtors                             Date: April 12, 2022
                                                  Time: 10:00 a.m.
 18    *All papers shall be filed in the Lead     Location: Via ZOOM or Telephone
       Case, No. 19-30088
 19    _________________________________/

 20           PLEASE TAKE NOTICE THAT Oomai Sunia, Edward Sunia, Alesana Sunia,
      Serentiy Sunia, Surrender Sunia, Edward A. Sunia, and Lynette Afitu (the “Movants”)
 21   filed their Motion to Allow/Deem Timely Late Filing of Proof of Claim by Movants
      Oomai Sunia, Edward Sunia, Alesana Sunia, Serentiy Sunia, Surrender Sunia, Edward A.
 22   Sunia, and Lynette Afitu, and Memorandum of Points and Authorities in Support
      Thereof, and Declaration of Robert M. Bone in Support Thereof.
 23           Your rights may be affected. You should read these papers carefully and
      discuss them with your attorney, if you have one in this bankruptcy case. (If you do
 24   not have an attorney, you may wish to consult one.) Copies of the Motion papers
      may be viewed and/or obtained by: (1) accessing the Court’s website at
 25   http://www.canb.uscourts.gov; (which requires PACER access); (2) by contacting
      Jacob M. Faircloth at jacob@bfolegal.com; (3) by contacting the Office of the Clerk
 26   of the Court at 450 Golden Gate Avenue, San Francisco, CA 94102; and/or (4) from
      the Debtors’ notice and claims agent, Prime Clerk, LLC, at
 27   https://restructuring.primeclerk.com/pge or by calling (844)339-4217 (toll free) for
      U.S.-based parties; or +1 (929)333-8977 for International parties or by email at:
 28   pgeinfo@primeclerk.com.

      NOTICE OF HEARING ON MOTION TO ALLOW/DEEM TIMELY LATE FILING OF PROOF OF CLAIM
      BY MOVANTS OOMAI SUNIA, EDWARD SUNIA, ALESANA SUNIA, SERENITY SUNIA, SURRENDER
      SUNIA, EDWARD
Case: 19-30088      A. SUNIA,
                  Doc#   12030AND LYNETTE  AFITU - PageEntered:
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                                           of 2
  1           Please note that the hearing will not be conducted in the presiding Judge’s
      courtroom, but instead will be conducted by telephone or via Zoom.
  2           If you do not want the Court to grant the Motion, or if you want the Court to
      consider your views on the Motion, then you or your attorney should file with the Court a
  3   written opposition to the Motion on or before April 5, 2022, and attend the hearing
      scheduled to be held on Tuesday, April 12, 2022, at 10:00 a.m., via ZOOM or Courtcall.
  4           All interested parties should consult the Bankruptcy Court’s website at
      www.canb.uscourts.gov for information about court operations during the COVID-19
  5   pandemic. The Bankruptcy Court’s website provides information regarding how to
      arrange a telephonic or video appearance. If you have any questions regarding how to
  6   appear at a court hearing, you may contact the Bankruptcy Court by calling 888-821-
      7606 or by using the Live Chat feature on the Bankruptcy Court’s website.
  7           If you or your attorney do not take these steps, the Court may decide that you do
      not oppose the Motion and may enter an order granting the Motion by default.
  8
      Dated: March 15, 2022                BLUESTONE FAIRCLOTH & OLSON, LLP
  9
                                                  /S/ Jacob M. Faircloth
 10                                        By: _____________________________
                                                  Jacob M. Faircloth
 11                                        ATTORNEYS FOR MOVANTS
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      NOTICE OF HEARING ON MOTION TO ALLOW/DEEM TIMELY LATE FILING OF PROOF OF CLAIM
      BY MOVANTS OOMAI SUNIA, EDWARD SUNIA, ALESANA SUNIA, SERENITY SUNIA, SURRENDER
      SUNIA, EDWARD
Case: 19-30088      A. SUNIA,
                  Doc#   12030AND LYNETTE  AFITU - PageEntered:
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